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LUND & PULLARSA

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Case 1:20-cv-21716-FAM Document 1-4 Entered on FLSD Docket 04/24/2020 Page 1of3

/ 405-075 J. P. REYNOLDS CO., INC,

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Case 1:20-cv-21716-FAM Document 1-4 Entered on FLSD Docket 04/24/2020 Page 2 of 3

 

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ABISO0H 4

 

 

 

 

 

Yacht owner. VIOLETADVISORS ~ CARGO RECEIPT
VIA FRANCESCO FLAVIGRI 40
00083 CIVITAVECCHIA NON-NEGOTIABLE
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Conslynes: = VIOLET ADVISORS Ocean Carrer:
VIA FRANCESCO FLAVIORI 40 Spliethoff Transport BV.
06083 CIVITAVECCHIA
ITALY
Vessel:
Schipporsgracht ;
Place of recelpt: Port of discharge:
Paim Beach FL.
Port of loading: Place of delivery:
Gonoa

 

Yacht Ownar's description of the Yacht {inel, separate parts/modules of the Yacht):
Manufactwer: Azimut $6 1 Places Used Yacht on cradle 90,060.00 kg
Name: "Leonardo Il"
LOA: 29,87m
Beanr 7,.19m

MIOLET ADVISORS

VIA FRANCESCO FLAVIORT 40
00053 CIVITAVECCHIA

ITALY

CARRIED ON DECK WITH YACHT OWNER'S CONSENT

This documeat serves as a Gaigo Receipt only.

The Yacht is ahvays catsied al Yacht Ownars risk; Ue Ocgan Canler nol fa be responsible for any loss of damage or delay to tho Yacht whatseever and
howsoever arising and by whosoavar caused, Including negligence of the Grean Cantor, (le agonts, sub-agents, servants, employees, contractors of
sub-contractors to any level,

The goods shipped under tis Cargo Recelpl will be delivered to the parly nominated by the Yacht Owner on production of proof of idenlily ond aulhoslly
Without any firther docunientary forniatilles. The Ocean Carflar {0 exercise due care onsuring thot dellvary is mado to lhe proper patty. However, la case of
incostact deXvery, no responsibility val ba accepted. The tanspor of te Yacht is subject te fa Contract of Ocean Cartage", all tenis and conditions,
ilbetties, clausos anc oxceplions of which, bicluding but without timitailon the Insurance and Lebtity Clause (Clause 6) and the Law and Jurisdiction
Clause (Clause 47), shall be deemed to be lncorpotaied In thls Cargo Recolpt and shall constute the contract of canlage end no bids

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08 Apr 2013

 

  

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